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                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION
ANTHONY DAUNT,

       Plaintiff,
v                                            No. 1:20-cv-00522

JOCELYN BENSON, in her official capacity as HON. ROBERT J. JONKER
Michigan Secretary of State, JONATHAN
BRATER, in his official capacity as Director of
the Michigan Bureau of Elections,                ORDER ON STIPULATION
                                                TO EXTEND DATE FOR THE
      Defendants,                                STATE DEFENDANTS AND
                                                   THE RISE AND APRI
A. PHILIP RANDOLPH INSTITUTE –                        INTERVENOR-
DETROIT/DOWNRIVER; RISE, INC.,                  DEFENDANTS’ ANSWER TO
                                                  PLAINTIFF’S AMENDED
      Intervenor-Defendants,                           COMPLAINT

LEAGUE OF WOMEN VOTERS OF
MICHIGAN; LEAGUE OF WOMEN VOTERS
OF GRAND TRAVERSE AREA; LEAGUE OF
WOMEN VOTERS OF ANN ARBOR AREA;
LEAGUE OF WOMEN VOTERS OF
LEELANAU COUNTY; LEAGUE OF WOMEN
VOTERS OF COPPER COUNTY and
LEAGUE OF WOMEN VOTERS OF
OAKLAND AREA,

       Intervenor-Defendants.

William S. Consovoy                          Elizabeth Husa Briggs (P73907)
Cameron T. Norris                            Heather S. Meingast (P55439)
Tiffany H. Bates                             Erik A. Grill (P64713)
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    ORDER ON STIPULATION TO EXTEND DATE FOR THE STATE
 DEFENDANTS AND THE RISE AND APRI INTERVENOR-DEFENDANTS’
        ANSWER TO PLAINTIFF’S AMENDED COMPLAINT

      Having considered the parties’ stipulation to extend the date for the State

Defendants and the Rise and APRI Intervenor-Defendants to file an answer to

Plaintiff’s amended complaint, the Court states the following:

         IT IS HEREBY ORDERED that Defendants Secretary Benson and Director

Brater, and Intervenor-Defendants Rise, Inc. and A. Phillip Randolph Institute

Detroit/ Downriver have through November 20, 2020, to file an answer or other

responsive pleading to Plaintiff’s amended complaint (ECF No. 31).



      IT IS SO ORDERED.

Dated:    November 5, 2020              /s/ Robert J. Jonker
                                       _____________________________
                                         HON. ROBERT J. JONKER
                                         United States District Court Judge




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